        Case 2:15-cv-09692-PSG-E Document 165 Filed 11/30/17 Page 1 of 2 Page ID #:1277


                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA

                                           CIVIL MINUTES-GENERAL


Case No. CV 15-9692-PSG(Ex)                                                                 Date: November 30, 2017

Title: CONSUMER FINANCIAL PROTECTION BUREAU v. D AND D MARKETING, INC. DBA T3 LEADS,
       ET AL.


DOCKET ENTRY


PRESENT:

                HON. CHARLES F. EICK, JUDGE

                   STACEY PIERSON                                                  N/A
                  DEPUTY CLERK                                        COURT REPORTER

ATTORNEYS PRESENT FOR PLAINTIFFS:                           ATTORNEYS PRESENT FOR DEFENDANTS:

                None                                                                None


PROCEEDINGS:         (IN CHAMBERS)                                               (Page 1 of 2)

                The Court has read and considered all papers filed in support of and in opposition to “Plaintiff’s
          Motion to Compel Answers to Interrogatories and Production of Documents” (“the Motion”), filed
          October 25, 2017. The Court heard oral argument on November 30, 2017.

                  The Motion is granted as to Interrogatory No. 3 (with the understanding that “Leads” shall
          include consumer data relating to potential loan applications, and limited to the time period May 1,
          2010, to the present), Interrogatory No. 4 (with the understanding that “Leads” shall include consumer
          data relating to potential loan applications, and limited to the time period May 1, 2010, to the present),
          and Request for Production No. 5 (limited to documents relating to complaints, underwriting criteria,
          acceptance criteria, conversion rates, repayment rates, collection, lender identity and revenue generated,
          and limited to the time period May 1, 2010, to the present).

                 Defendant D and D Marketing, Inc. shall serve both of the supplemental interrogatory answers
          compelled herein and shall produce all of the documents compelled herein on or before January 15,
          2018. Defendant D and D Marketing, Inc. may withhold from its production only those documents
          claimed to be privileged under the attorney-client privilege or the work product doctrine. If any such
          documents are withheld, Defendant D and D Marketing, Inc. shall serve a privilege log on or before
          January 18, 2018, identifying with particularity each such document withheld.

MINUTES FORM 11                                                                              Initials of Deputy Clerk   SP
CIVIL-GEN
        Case 2:15-cv-09692-PSG-E Document 165 Filed 11/30/17 Page 2 of 2 Page ID #:1278


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PRESENT:

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                   STACEY PIERSON                                                N/A
                  DEPUTY CLERK                                      COURT REPORTER

ATTORNEYS PRESENT FOR PLAINTIFFS:                          ATTORNEYS PRESENT FOR DEFENDANTS:

                None                                                              None


PROCEEDINGS:         (IN CHAMBERS)                                             (Page 2 of 2)

                  Except as expressly stated herein, the Motion is denied.

                 Any party seeking review of this Order shall cause the preparation and filing of a transcript of
          the November 30, 2017 hearing.




          cc:     Judge Gutierrez
                  All Counsel of Record




MINUTES FORM 11                                                                           Initials of Deputy Clerk   SP
CIVIL-GEN
